                           In the
         United States Court of Appeals
                 For the Eleventh Circuit

                  ____________________

                        No. 24-10277
                  ____________________

INSURANCE MARKETING COALITION LIMITED,
                                                  Petitioner,
versus
FEDERAL COMMUNICATIONS COMMISSION,
UNITED STATES OF AMERICA,


                                                Respondents.


                  ____________________

            Petition for Review of a Decision of the
            Federal Communications Commission
         Agency No. CG-02-278 / CG-17-59 / CG-21-402
                   ____________________

ORDER:
2                    Order of the Court               24-10277

     Respondents are hereby DIRECTED to respond to the
motion to intervene filed by the National Consumers League,
Mark Schwanbeck, Micah Mobley, Christopher K. McNally, and
Chuck Osborne. The response is due on Friday, April 4, 2025.


                                             DAVID J. SMITH
                            Clerk of the United States Court of
                              Appeals for the Eleventh Circuit

              ENTERED FOR THE COURT - BY DIRECTION
